           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                           CRIMINAL NO. 1:06CR165




UNITED STATES OF AMERICA                      )
                                              )
                                              )
                   VS.                        )             ORDER
                                              )
                                              )
JUAN JOSA LOPEZ                               )
                                      )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees and upon referral

from the District Court.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and Janna D. Allison is hereby permitted to file an interim fee petition in this

matter.
                                          Signed: July 23, 2007




   Case 1:06-cr-00165-MR-WCM       Document 419       Filed 07/24/07   Page 1 of 1
